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                                                                                                                                                                                                                                                                                    Fulton County Superior Court
                                                                                                                                                                                                                                                                                                    .·***E FI LED***L. w
                                                                                                                                                                                                                                                                                        Date: 1/20/2021 12:40 PM
                                                                                                                                                                                                                                                                                    . . Ca.the·l ene Robinson,· Clerk




                           IN THE SUPERIOR COURT OE.FULTON COUNTY
                              '   1   •    •    •                                  •             '.       •   • •                                  -        !    :           •               •            •                           •




                                                                         STATE OF (;~O~GIA

    JAMIE T. BffiD,                                                                                                 )
                                                                                                                    )
            PJ~intiff,                                                                                              )
                                                                                                                    ')                     Civil-Action File.No.
    v.                                                                                                              )
                                                                                                                    )                              20·21 CV344783
    ·BoARD·.OF ~GENTS OF _THE                                                                                       )
    UNIVERSI1Y.SYSTEM OF ·                                                                                          )
    GEORGIA D(BIA VALPO-STA                                                                                         )
    STATE UNIVERSITY, .-                                                                                            )
                                                                                                                    )
            Defendant.                                                                                              )


                                                                                       . COMPLAINT

           COMES NOW ·th~ PlafritiftJAMiE-_f .B~··(h~~~e{·~'Mr.f.Bitd" or ~~~~~~land files
                   .                      . .       .       .                 .   . .·   :            · ,,.                        .               _· • .       , ,· 1 .                         '             .- '                                                                       .          .



    this Complairit .~gainst the·. Defendant' BO                                                                         ARP.- OF_:· REGENTS;. 0~ · THE ·l.iNNERSft.y .
    SYSTEM OF GEORGIA D/~/A VALDOSTA SJAT-£:, UNfvER~~IT·Y ~(h~reafter ''V:Slr') . ~d.
                                                                     .                                                   .             .                             '                   :       :       .     •'     ·,                                                                             .


    shows· the Court as follows:                                          ..

                                                                                  INTRODUCTION'

                                                                                                                             L
           Mrs. ~ird~ .a female,. ·the D.uaJ Eµrollinen·t Director. at VSl\ w.as .nQtified: OIJ July' I 7, 2020
              .,       •                                        I                            •                           •   , '               •            .                    :                                                            l                           .°'            •, ,            •




that her employment.with          ysµ would tenninate on No~e-~ber 1.~~ 2020'; V$u~·s stat~4 reason
for termiQating
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                Mrs. Bird was
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job category. Thi$-stated reas_o~ i$ pr~te~t- and ·was.· s~bri<ja~d- .-by ,VStJ Jhro1:1gh .- its ·agept- 1ln~
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employee, Dr. Rodney Carr. VS"(J an~'i:lr.
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VSU's unlawful~cts          and omissions _in•its.Dual Emollme~t:p~~am, Title·VJI.ofthe Civil Ri~ts
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